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U.S. Department of Justice

 

 

 

 

United States Marshals Service : aes : ‘ CUS “Instructions jor Service of Process by U.S. Marshal” @?
PLAINTIFF COURT CASE NUMBER
Dinli Metal Industrial Company, Ltdé KU gu} Rif Dpfyndgnay 2 nn 3:06-CV-00787-R Pras
f+
DEFENDANT ~e TYPE OF PROCESS

 

Galt Porter, Bill Peirce, Cobra Sports, Dinli USA, LLC ¢ {Cpupser- Plaintiff), ‘Lee Bumett {Breach of Contract/Fraud

DEPT ms Py

NAME OF INDIVIDUAL, COMPA CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J Dinli Metal Industrial Company, Ltd.
pany
AT ADDRESS (Street or RFD, Apartment No., City, Stute and ZIP Code)

7408 Sugar Maple, Irving, TX 75063
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

Number of process to be
served with this Form 285 | |

 

 

Kevin Perkins Number of parties to be

 

 

 

Vanacour Perkins PLLC served in this case |
14675 Midway Road, Suite 100
Addison, Texas 75001 Check for service
on USA.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):
Fold Fold

 

Dinli USA, Inc. (Subsidiary) Chen Nan Ku (Agent) 7408 Sugar Maple. Irving, Texas 75063
Attorney/Agent Eric Fein, Esq. 15455 Dallas Parkway, Suite 1225, Addison, Texas 75001
Dinli, L.P. (Subsidiary) Chen Nan Ku (Agent) 5616 Corporate Blvd. Suite 400B, Baton Rouge, LA 70816

 

   
 

 

 

 

 

iginator requesting service on CORN IGE ELEY) TELEPHONE NUMBER DATE
C] DEFENDANT 972-865-6034 10/5/17
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
Lacknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date

 

 

 

 

 

number of process indicated. Origin Serve
(Sign only for USM 285 if more ¥ 9 7 Ly / [
than one USM 2835 is submitted) No. ? No. 7? ttf 5 (7

Thereby certify and return that [ (7 have personally served , [) have legal evidence of service AT have executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual . company, corporation, etc. shown at the address inserted below.

 

Ae Uhereby certify and return that fam unable to locate the individual, company, corporation, etc, named above (See remarks below)
7
Name and title of individual served (if not shown above) ["] A person of suitable age and discretion
then residing in defendant's usual place
of abode

 

Address (complete only different than shown above) Date Time Ge
_ am
a : of Eer
& O¢ /7 (2 2) C] pm

Signature of U.S. Marshal or Deputy

Service Fee Total Mileage Charges| Forwarding Fee Total Charges Advance Deposits Arwunt owed fa U3. Marshal* or

1, "SE endeavors} t w { wm undef Refi
™ 3h by O° ahem bs: ‘Ib. ™ $6-00—

REMARKS: Sue Of R017 oF lye aabless, 70 of ¢ ossahefed laste Fes Tony,

 

 

  

 

 

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1. CLERK OF THE COURT PRIOR EDITIONS MAY BE USED
2. USMS RECORD
3. NOTICE OF SERVICE |
4. BILLING STATEMENT*: To be retumed to the U.S. Marshal with payment, Ce
if any amount is owed. Please remit promptly payable to U.S. Marshal. je Form USM-285
5. ACKNOWLEDGMENT OF RECEIPT Rev. 12/80

 
